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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


                              NOTICE OF HEARING SESSION


Pursuant to the order of the United States Judicial Panel on Multidistrict Litigation filed today,
notice is hereby given that a hearing session has been scheduled to consider the motion to transfer
under 28 U.S.C. § 1407 in MDL No. 3045 – IN RE: FY 2022 Adjustment of Status Delay Litigation.

DATE OF HEARING SESSION:                   August 5, 2022

LOCATION OF HEARING SESSION: United States Judicial Panel on Multidistrict Litigation
                             Thurgood Marshall Federal Judiciary Building
                             One Columbus Circle, NE
                             Washington, DC 20544-0005
TIME OF HEARING SESSION:                  11:00 a.m.


THE PANEL DISPENSES WITH ORAL ARGUMENT

       •    The Panel will consider without oral argument the matter scheduled to be heard at
            the August 5, 2022, Hearing Session pursuant to Panel Rule 11.1(c). The Panel
            reserves the prerogative, pending its further review of the submissions in the scheduled
            matter, to either schedule oral argument or order supplemental briefing on any topic
            with respect to the motion. Should the Panel do so, the Panel Clerk will promptly
            notify the parties.




                                                     FOR THE PANEL:



                                                     John W. Nichols
                                                     Clerk of the Panel
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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


                                  HEARING SESSION ORDER


       The Panel issues the following orders in connection with its next hearing session,

      IT IS ORDERED that on August 5, 2022, the Panel will convene a hearing session in
Washington, DC, to consider the matter on the attached Schedule under 28 U.S.C. § 1407.

        IT IS FURTHER ORDERED that the Panel may, on its own initiative, consider transfer of
any or all of the actions in that matter to any district or districts.

        IT IS FURTHER ORDERED that the Panel will consider the matter on the attached
schedule without oral argument. The Panel reserves prerogative, pending its further review of
the submissions in the scheduled matter, to either schedule oral argument or order supplemental
briefing on any topic with respect to the motion. Should the Panel do so, the Panel Clerk will
promptly notify the parties.

        IT IS FURTHER ORDERED that, if the Panel schedules oral argument in the matter on
the attached schedule, such argument shall be presented by videoconference or teleconference as
directed by the Panel Clerk.

      IT IS FURTHER ORDERED that, unless the Panel orders otherwise, no parties or
counsel need or shall be permitted to appear at the Hearing Session.

        IT IS FURTHER ORDERED that the Clerk of the Judicial Panel on Multidistrict
Litigation shall direct notice of this hearing session to counsel for all parties involved in the
matters on the attached Schedule.


                               PANEL ON MULTIDISTRICT LITIGATION



                                   ___________________________________
                                         Karen K. Caldwell
                                           Chair

                                  Nathaniel M. Gorton          Matthew F. Kennelly
                                  David C. Norton              Roger T. Benitez
                                  Dale A. Kimball              Madeline Cox Arleo
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MDL No. 3045 − IN RE: FY 2022 ADJUSTMENT OF STATUS DELAY LITIGATION


         District of Arizona
  CHANDRASEKHARAN, ET AL. v. JADDOU, C.A. No. 2:22−01117
         Central District of California
  KRISHNA, ET AL. v. UR JADDOU, C.A. No. 2:22−04129
         Eastern District of California
  VATSAVAI, ET AL. v. JADDOU, C.A. No. 2:22−01014
  AIYYATHURAI, ET AL. v. JADDOU, C.A. No. 2:22−01046
         Northern District of California
  APTE, ET AL. v. JADDOU, C.A. No. 3:22−03574
  VEMPATI, ET AL. v. JADDOU, C.A. No. 3:22−03645
  MOHINDRU, ET AL. v. JADDOU, C.A. No. 4:22−03541
  MOHAN, ET AL. v. JADDOU, C.A. No. 5:22−03539
  NAYAK, ET AL. v. JADDOU, C.A. No. 5:22−03542
  GAWANDE, ET AL. v. JADDOU, C.A. No. 5:22−03650
         District of Massachusetts
  PARIKH, ET AL. v. JADDOU, C.A. No. 1:22−11112
  DESAI, ET AL. v. JADDOU, C.A. No. 4:22−11040
         District of Nebraska
  PENMATHSA, ET AL. v. JADDOU, C.A. No. 4:22−03109
         District of New Jersey
  VAIBHAV, ET AL. v. JADDOU, C.A. No. 3:22−04188
         Eastern District of North Carolina
  KOSURI, ET AL. v. JADDOU, C.A. No. 5:22−00262
         Western District of North Carolina
  RAMASWAMY, ET AL. v. JADDOU, C.A. No. 3:22−00279
         Western District of Tennessee
  RAMIREDDY, ET AL. v. JADDOU, C.A. No. 2:22−02416
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       Eastern District of Texas
GUPTA, ET AL. v. JADDOU, C.A. No. 4:22−00504
KRISHNAPURAM, ET AL. v. JADDOU, C.A. No. 4:22−00505
       Southern District of Texas
BAKANE, ET AL. v. JADDOU, C.A. No. 4:22−01965
BUDDHARAJU v. JADDOU, C.A. No. 4:22−01966
JOIS, ET AL. v. JADDOU, C.A. No. 4:22−02026
       Western District of Texas
UPPAL, ET AL. v. JADDOU, C.A. No. 1:22−00632
